        Case 1:04-cr-05237-LJO Document 69 Filed 01/03/06 Page 1 of 1


 1
 2
 3
                           UNITED STATES DISTRICT COURT
 4                        EASTERN DISTRICT OF CALIFORNIA
 5
 6
     UNITED STATES OF AMERICA,     )
 7                                 )
                    Plaintiff      )                CR F-04-5237 OWW
 8                                 )
          v.                       )
 9                                 )
     CELIA GARCIA RINCON,          )
10                                 )
                    Defendant      )           RECOMMENDATION FOR CALIFORNIA
11   ______________________________)           FACILITY
12
          The Court hereby recommends that the defendant be incarcerated
13
     at a California facility, but only insofar as it is in accordance
14
     with security classification and space availability.
15
16
     Dated: December 30, 2005                  /s/ OLIVER W. WANGER
17                                             ______________________________
                                               OLIVER W. WANGER
18                                             United States District Judge
19
20
21
22
23
24
25
26
27
28                                         1
